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                     THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        CASE NO.: 19-51973-lrc

ALLEN LAURENCE RICHARDSON,                    CHAPTER 13

         Debtor.                              JUDGE LISA RITCHEY CRAIG


HP GEORGIA I LLC d/b/a HOME PARTNERS          CONTESTED MATTER
OF AMERICA, PATHLIGHT PROPERTY
MANAGEMENT,
     Movant,

vs.

ALLEN LAURENCE RICHARDSON,
     Debtor,

RUBY DANCIL,
     Non-Filing Co-Debtor,

YOLANDA RICHARDSON,
    Non-Filing Co-Debtor,

MELISSA J. DAVEY,
     Trustee,
     Respondents.

                   MOTION FOR RELIEF FROM AUTOMATIC STAY
                      AND RELIEF FROM CO-DEBTOR STAY
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       COMES NOW, HP GEORGIA I LLC d/b/a HOME PARTNERS OF AMERICA,

PATHLIGHT PROPERTY MANAGEMENT (“Movant”) and hereby moves this Court for relief

from the automatic stay pursuant to 11 U.S.C. § 362(d), and relief from co-debtor stay with respect

to certain real property. In support thereof, Movant shows as follows:

                                                  1.

       ALLEN LAURENCE RICHARDSON (“Debtor”) having filed a voluntary petition

pursuant to 11 U.S.C. § 1301, et seq., is subject to the jurisdiction of this Court.

                                                  2.

       This Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362.

                                                  3.

       Movant is the landlord of certain real property located at 574 Haralson Dr. SW, Lilburn,

Georgia 30047 (“Property”), currently leased to Debtor and RUBY DANCIL and YOLANDA

RICHARDSON (collectively, “Non-Filing Co-Debtor”) pursuant to a residential lease agreement

entered into on or about September 21, 2016 (“Lease”), with a current rental rate of $3,020.00 per

month (“Rent”) for a term beginning on October 1, 2018 and ending on October 31, 2019. In the

event Rent is not received by the fifth (5th) calendar day of each month, a late of $140.00 is incurred

(“Late Fee”).

                                                  4.

       The Property is listed as Debtor’s address in the Petition [Doc. 1, p. 2].

                                                  5.

       Movant seeks relief in order to undertake dispossessory proceedings (“Dispossessory”), in

Gwinnett County, Georgia, to dispossess Debtor along with any other occupants from the Property

for failure to pay rent under the Lease. Movant’s decision for a Dispossessory was stayed once


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Movant was made aware of Debtor’s voluntary petition.

                                                  6.

        Debtor and Non-Filing Co-Debtor defaulted under the terms of the Lease by failing to pay

Rent, Late Fees, and other applicable charges under the Lease as required for March, 2019 through

the date of the instant motion. As of the date of the instant motion, Debtor and Non-Filing Co-

Debtor owe a total of $3,465.00. Debtor and Non-Filing Co-Debtor continue to accrue arrearages

of Rent, Late Fees, and other applicable charges.

                                                  7.

        Debtor and Non-Filing Co-Debtor have caused Movant undue hardship. Movant is unable

to continue with the Dispossessory and exercise its state law remedies due to the automatic stay

and has incurred costly attorney fees as a result of Debtor’s and Non-Filing Co-Debtor’s actions

and filings.

                                                  8.

        Because Debtor and Non-Filing Co-Debtor have demonstrated a continuing default and a

clear inability to make payments required under the Lease and has not submitted any

documentation to the contrary under the provisions of the bankruptcy code, Movant is not

adequately protected. For the above and foregoing reasons, Movant asserts that cause exists

sufficient to waive the requirements of Bankruptcy Rule 4001(a)(3).

                                                 9.

        Because there is no equitable or legal interest in the Property which could benefit the Estate

and such property is not part of the Estate, the Trustee’s interest should be deemed abandoned, the

Lease rejected, and the stay should be lifted with regard to Movant to allow it to continue with the

Dispossessory to dispossess Debtor and Non-Filing Co-Debtor along with Debtor’s and Non-


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Filing Co-Debtor’s personal property, and obtain a monetary judgment as to all post-petition rents,

to the extent permitted by law, while Debtor and Non-Filing Co-Debtor remain in possession of

the Property.

                                                10.

       Because the Lease provides that Debtor and Non-Filing Co-Debtor are responsible for

Movant's attorney's fees in pursuing legal action, Movant is entitled to reasonable attorney's fees

from Debtor and Non-Filing Co-Debtor.

       WHEREFORE, Movant prays for the following relief:

       (A)      An Order granting Movant relief from the automatic stay and co-debtor stay

                entered under 11 U.S.C. § 362 for all purposes allowed by applicable law,

                including but not limited to, authorizing Movant to exercise its state law remedies,

                specifically to continue the Dispossessory against Debtor, Non-Filing Co-Debtor,

                and all other occupants and to remove all personal property and personal effects

                of the same from the Property and/or a monetary judgment for all post-petition

                amounts currently due under the Lease to the extent permitted by law;

       (B)      That the Lease be deemed rejected;

       (C)      The Court award Movant reasonable attorney’s fees, costs, and fees of bringing

                the instant motion;

       (D)      The Court waive the 14-day stay of Bankruptcy Rule 4001(a)(3); and

       (E)      For such other and further relief as the Court deems just and equitable.

       Dated: April 19, 2019.




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                                               Respectfully Submitted,


                                               /s/ Lynn M. Wilson, Esq.
                                               Lynn M. Wilson, Esq.
                                               Georgia Bar No. 768852
                                               Counsel for Movant

Morris, Manning & Martin, LLP
990 Hammond Drive, Suite 300
Atlanta, Georgia 30328
Telephone: (404) 255-6900
Facsimile: (404) 843-2317




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     Non-Filing Co-Debtor,

 MELISSA J. DAVEY,
      Trustee,
      Respondents.

                                 REQUEST FOR HEARING
       PLEASE TAKE NOTICE that HP GEORGIA I LLC d/b/a HOME PARTNERS OF

AMERICA, PATHLIGHT PROPERTY MANAGEMENT, Movant, has filed a Motion for Relief,

dated April 19, 2019, and related papers with the Court seeking an order modifying the automatic

stay and co-debtor stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the motion

in Courtroom 1204, Richard B. Russell Federal Building and U.S. Courthouse, 75 Ted

Turner Drive, SW, Atlanta, 30303, at 1:15 p.m. on May 14, 2019.
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       Your rights may be affected by the Court’s ruling on these pleadings. You should read the

pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.

(If you do not have an attorney, you may wish to consult one.) If you do not want the court to grant

the relief sought in these pleadings or if you want the court to consider your views, then you and/or

your attorney must attend the hearing. You may also file a written response to the pleading with

the Clerk at the address stated below, but you are not required to do so. If you filed a written

response, you must attach a certificate stating when, how and on whom (including addresses) you

served the response. Mail or deliver your response so that the Clerk receives it at least two (2)

business days before the hearing. The address of the Clerk’s office is: Clerk, United States

Bankruptcy Court, Room 1340, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303. You

must also mail a copy of your response to the undersigned at the address stated below.

       If a hearing on the motion for relief from the automatic stay cannot be held within thirty

(30) days, Movant waives the requirement for holding a preliminary hearing within thirty (30)

days of filing the motion and agrees to a hearing on the earliest possible date. If the Court cannot

render a final decision within sixty (60) days of the date of the request, Movant waives the

requirement that a final decision be issued within that period.

       Dated: April 19, 2019.

                                                     Prepared By:

                                                     /s/ Lynn M. Wilson, Esq.
                                                     Lynn M. Wilson, Esq.
                                                     Georgia Bar No. 768852
                                                     Counsel for Movant
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Atlanta, Georgia 30328
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                                CERTIFICATE OF SERVICE

       This is to certify that I have served a copy of Movant’s MOTION FOR RELIEF FROM

AUTOMATIC STAY AND RELIEF FROM CO-DEBTOR STAY and REQUEST FOR

HEARING electronically or by depositing same in the United States First Mail in a properly

addressed envelope to each with adequate postage thereon as follows:

 Howard P. Slomka, Esq.                         Ruby Dancil
 Slipakoff & Slomka, PC                         574 Haralson Drive SW
 Overlook III, Suite 1700                       Lilburn, GA 30047
 2859 Paces Ferry Rd. SE
 Atlanta, GA 30339
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Melissa J. Davey, Trustee                   Yolanda Richardson
Suite 200                                   574 Haralson Drive SW
260 Peachtree Street, NW                    Lilburn, GA 30047
Atlanta, GA 30303

      Dated: April 19, 2019

                                              /s/ Lynn M. Wilson, Esq.
                                              Lynn M. Wilson, Esq.
                                              Georgia Bar No. 768852
                                              Counsel for Movant
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                                      DISTRIBUTION LIST

Debtor

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Non-Filing Co-Debtor

YOLANDA RICHARDSON
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Trustee

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Atlanta, GA 30303

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Atlanta, GA 30303
